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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

Mark G. Johnson &                                 Hon.
Paul H. Eichenberg,
           Plaintiffs,
     v.

Roberts & Freatman, PLC.
                                            TRIAL BY JURY DEMANDED
            Defendants

                                COMPLAINT

                             INTRODUCTION

  1. Plaintiffs Mark Johnson and Paul Eichenberg (“Plaintiffs”), brings

      this action to secure redress against unlawful credit and collection

      practices engaged in by Roberts & Freatman, PLC (Roberts and

      Freatman), Plaintiffs allege violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”) based on the

      lawsuit filed by Defendant against Plaintiffs for a debt that had been

      previously reduced to a Judgment and the same debt had been

      discharged in Bankruptcy and Complaint that contains false and

      misleading statements.

   2. Plaintiff also allege that Exhibit A, violates state law M.C.L. §

      445.252, or in the alternative, M.C.L § 339.915.

   3. Mark Johnson is an employed individual at Yankee Candle. In
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   enacting the FDCPA, Congress recognized the:

   universal agreement among scholars, law enforcement officials,
   and even debt collectors that the number of persons who willfully
   refuse to pay just debts is minuscule . . . . [T]he vast majority of
   consumers who obtain credit fully intend to repay their debts.
   When default occurs, it is nearly always due to an unforeseen event
   such as unemployment, overextension, serious illness, or marital
   difficulties or divorce.

   S. Rep. No. 382, 95th Cong., 1st Sess. 3 (1977), reprinted in 1977

   USCCAN 1695, 1697.

4. Paul Eichenberg is an employed at H&M and is an individual. In

   enacting the FDCPA, Congress recognized the:

   universal agreement among scholars, law enforcement officials,
   and even debt collectors that the number of persons who willfully
   refuse to pay just debts is minuscule . . . . [T]he vast majority of
   consumers who obtain credit fully intend to repay their debts.
   When default occurs, it is nearly always due to an unforeseen event
   such as unemployment, overextension, serious illness, or marital
   difficulties or divorce.

   S. Rep. No. 382, 95th Cong., 1st Sess. 3 (1977), reprinted in 1977

   USCCAN 1695, 1697.

5. The FDCPA is broad in its prohibition of unfair or unconscionable

   collections methods including the use of any false, deceptive or

   misleading statements in connection with the collection of a debt.

   Furthermore, “It is the purpose of [the FDCPA] to eliminate abusive

   debt collection practices by debt collectors, to insure that those debt



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   collectors who refrain from using abusive debt collection practices are

   not competitively disadvantaged. . . .” 15 U.S.C. § 1692(e).

                  6. JURISDICTION AND VENUE

7. This Court has jurisdiction under 28 U.S.C. §§1331, 1337 and 15

   U.S.C. §1692k (FDCPA). This Court has supplemental jurisdiction

   over Plaintiffs’ state law claims under 28 U.S.C. § 1367 as the

   wrongful conduct arises out of a common nucleus of operative facts.

8. Venue and personal jurisdiction over Defendant in this District is

   proper because:

9. Defendants resides in the District;

10.      Roberts & Freatman, collection activities through the use of the

   legal process that occurred within the District.

                              11. PARTIES

12.Plaintiffs are individuals that formerly who resided in the Eastern

   District of Michigan, but currently reside in Texas.

13.Roberts & Freatman, PLC is a Michigan Professional Limited Liability

   Corporation. Roberts & Freatman’s principal place of business is

   located at 125 N Huron St, Ypsilanti, Michigan 48197. For service of

   process, Roberts & Freatman’s registered agent is Ellis B Freatman,

   III, 125 N Huron St, Ypsilanti, Michigan 48197.



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14.Roberts & Freatman is a “debt collector” as defined by 15 U.S.C. §

   1692a(6). See also Heintz v. Jenkins, 514 U.S. 291, 299 (1995).

15. Roberts & Freatman is a “collection agency” as defined by M.C.L. §

   445.251(b), or alternatively M.C.L. § 339.901(b).

                                      FACTS

16.On or about April 19, 2013 Plaintiffs former Condominium home at

   9573 Harbour Cove Ct., Ypsilanti, Michigan 48197 was foreclosed by

   Chase Home Finance Exhibit B.

17. Prior to the foreclosure, Plaintiffs had become delinquent in their

   Condominium Association fees.

18.      On or about June 25, 2013 Harbour Cove Condominium

   Association filed a lawsuit in the 18th District Court located in

   Westland, Michigan being Harbour Cove Condominium Association v

   Mark Johnson and Paul Eichenberg Case No. 13-28424-GC Exhibit C

   for unpaid Condominium Fees.

19.Harbour Cove Condominium Association obtained a Default

   Judgment against Plaintiffs in the 18th District Court being case

   number 13-28424-GC in the approximate amount of $6,498.50

   Exhibit D.




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20.      On or about November 12, 2013 Harbour Cove Condominium

   Association garnished monies from Plaintiffs joint bank account in

   the amount of $871.18 pursuant to a Judgment obtained in the 18th

   District Court.

21.On July 31, 2014 Plaintiff Mark Johnson filed for Chapter 7

   Bankruptcy protection Case No. 14-52498 Exhibit E.

22.      On July 31, 2014 Plaintiff Paul Eichenberg filed for Chapter 7

   Bankruptcy protection Case No. 14-52499 Exhibit E.

23.      Both Plaintiffs listed a debt owed to Harbour Cove Condo Assoc

   c/o Catherine Mills 44670 Ann Arbor Rd., #170, Plymouth, Michigan

   48170 Exhibit F.

24.      Catherine E. Mills was the attorney that filed the lawsuit on

   behalf of Harbour Cove Condominium Association against Plaintiffs

   in the 18th District Court.

25.      Each Plaintiff received a Chapter 7 Discharge on November 4,

   2014 Exhibit G.

26.      On February 8, 2016 Harbour Cove Condominium Association

   filed a lawsuit against Plaintiffs in the 14B District Court being case

   number 16-0563 Exhibit A.




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27.        The lawsuit filed was ostensibly for collection of past due

   assessments from prior owners of a condominium unit at Harbour

   Cove.

28.        Defendant Roberts & Freatman caused to be served a summons

   and complaint on Plaintiffs.

29.        Plaintiffs were both very distraught by the summons and

   complaint believing that they would have to pay the debt.

30.        11 USC § 362(a)(1-2, 5-6) prohibits,

   (1) the commencement or continuation, including the issuance or

   employment of process, of a judicial, administrative, or other action

   or proceeding against the debtor that was or could have been

   commenced before the commencement of the case under this title, or

   to recover a claim against the debtor that arose before the

   commencement of the case under this title;

   (2) the enforcement, against the debtor or against property of the

   estate, of a judgment obtained before the commencement of the case

   under this title any act to create, perfect, or enforce any lien against

   property of the estate;




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   (5) any act to create, perfect, or enforce against property of the debtor

   any lien to the extent that such lien secures a claim that arose before

   the commencement of the case under this title;

   (6) any act to collect, assess, or recover a claim against the debtor that

   arose before the commencement of the case under this title

31.Defendants complaint filed in the 14B District Court contains false

   statements:

      a. “There is no other pending or resolved civil action arising out of

         the same transaction or occurrence alleged in the complaint”.

         Such a statement is patently false as Plaintiffs were subject to a

         prior lawsuit in the 18th District Court being case number 13-

         28424-GC over the same delinquent fees.

      b. Paragraph 3 of the Complaint states,

         That Defendants have not paid and are now delinquent in their

         association dues and assessments in the amount of 4,962.60.

         Such a statement is false as Plaintiffs obligation to pay

         association dues terminated when the property was foreclosed

         April 19, 2013 and their personal liability for overdue

         assessments prior to the foreclosure was discharged in

         bankruptcy.



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     c. Paragraph 4 of the Complaint states,

        “That unless paid, this delinquency will increase during the

        pendency of this action”. This statement directly conflicts with

        paragraph 2 of the Complaint and is false as Plaintiffs

        obligation to pay association dues terminated when the

        property was foreclosed on April 19, 2013 and their personal

        liability for overdue assessments prior to the foreclosure was

        discharged in bankruptcy.

     d. Paragraph 5 of the Complaint states,

        “That despite numerous written and oral requests the

        Defendants have refused to pay said dues and assessments”.

        Plaintiffs never received any such demands and any demands

        outlined in paragraph 5 would have violated Plaintiffs

        bankruptcy discharges.

     e. Paragraph 6 of the Complaint states,

        “That pursuant to the Condominium Association Bylaws and

        Master Deed, Defendants are liable for the actual costs and fees

        of collection”. This statement is false as Plaintiffs obligation to

        pay association costs and fees of collection terminated when the

        property was foreclosed on April 19, 2013 and their personal



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         liability for costs and fees of collection prior to the foreclosure

         was discharged in bankruptcy.

      f. Plaintiffs were sued in 14B District Court for Ypsilanti

         Township. At the time of the lawsuit as filed by Defendants,

         Plaintiffs resided in Westland and no longer owned property or

         resided in Ypsilanti Township.

      g. The Sixth Circuit applies the “least sophisticated consumer”

         standard in evaluating FDCPA violations. Smith v. Transworld

         Sys., Inc., 953 F.2d 1025, 1028 (6th Cir. 1992).

                         COUNT I
                   FDCPA § 1692e VIOLATIONS

32.      Plaintiff incorporates paragraphs 1-39 above.

33.      15 U.S.C § 1692e, in pertinent part, provides:

         A debt collector may not use any false, deceptive, or
         misleading representation or means in connection with
         the collection of any debt. Without limiting the general
         application of the foregoing, the following conduct is a
         violation of this section:

                  • **
             (2) The false representation of --

                         (A)       the character, amount, or legal status of

                            any debt;

                  • **



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                 (3) The false representation or implication that any
                     individual is an attorney or that any
                     communication is from an attorney.

                        • **

         (5) The threat to take any action that cannot legally be taken or
         that is not intended to be taken.

                                      ** *

         (10) The use of any false representation or deceptive means to
         collect or attempt to collect any debt or to obtain information
         concerning a consumer.

                  .S.C. §§ 1692e, e(2)(A), e(3), e(5) and e(10).

 34.     If a creditor has acknowledged that a debt is discharged in

    Bankruptcy, creditor would be unable to continue to collect the

    discharged debt.

 35.     Exhibit A is deceptive and misleading as to the debt being due

    and owing.

 36.     Roberts & Freatman, violated 15 U.S.C. §§ 1692e, e(2), e(3), e(5)

    and e(10).

         WHERFORE, this Court should enter judgment in favor of

                  Plaintiffs and against Defendant for:

                  (1)     Statutory damages for each Plaintiff in the amount

                          of up to $1,000;




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                 (2)     Attorney’s fees, litigation expenses and costs of suit;

                 and

                 (3)     Such other relief as the Court deems proper.

                               COUNT II
                        STATE LAW VIOLATIONS

  37.      Plaintiff incorporates paragraphs 1-44 above.

  38.    M.C.L. § 445.252 and M.C.L § 339.915, in pertinent part,

     states as prohibited acts:

                ***

                (e) Making an inaccurate, misleading, untrue, or
                deceptive statement or claim in a communication to
                collect a debt . . . .

                (f) Misrepresenting in a communication with a debtor
                1 or more of the following:

                   (i) The legal status of a legal action being taken . . . .

                  30.

                  Roberts & Freatman, violated M.C.L. §§ 445.252(e) and

                  (f)(i), alternatively Roberts & Freatman, violated M.C.L.

                  §§ 339.915(e) and (f)(i).

           WHERFORE, this Court should enter judgment in favor of

Plaintiffs and the class and against Defendant for:




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                a. For statutory damages as the court may allow up to

                $1,000 under § 1692k(a)(2); and

                b. Attorney’s fess, litigation expenses and costs of suit.



                                   Respectfully submitted,


Dated February 8, 2017              /s/ John Evanchek, Esq.
                                    John Evanchek, Esq.

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                            JURY DEMAND

          Plaintiffs demand a trial by jury.

                                   Respectfully submitted,


Dated February 8, 2017              /s/ John Evanchek, Esq.
                                    John Evanchek, Esq.

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